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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

  NATIONAL LABOR RELATIONS BOARD,

                                        Applicant

                        v.                                     Case No. 0:18-mc-61507

  RASHELLE ROWE,

                                        Respondent.

       APPLICATION OF THE NATIONAL LABOR RELATIONS BOARD FOR ORDER
                   REQUIRING COMPLIANCE WITH SUBPOENA

         The National Labor Relations Board (the “Board”), an administrative agency of the

  Federal Government, applies to this Court for an order compelling compliance with an

  administrative subpoena that the Board issued and served on Respondent Rashelle Rowe

  (“Respondent”). This application is similar to the application that the Board filed, and this Court

  (Fort Lauderdale Division) expeditiously granted, in an earlier subpoena enforcement case

  initiated by the Board. See NLRB v. Rowe, No. 16-mc-61786-CMA (S.D. Fla. August 4, 2016)

  (Doc. No. 4.) That earlier case and the instant case both involve failure to comply with a

  subpoena issued in connection with the same investigation being conducted by the Board.1

         The Board’s application, which is accompanied by a supporting memorandum, is made

  under Section 11(2) of the National Labor Relations Act, as amended (the “Act”), 29 U.S.C. §

  1
    The Board also sought, and recently obtained from this Court (Miami Division), an order
  enforcing subpoenas issued to another witness in the same investigation. See NLRB v. Pinheiro,
  No. 17-mc-21254-MGC (S.D. Fla. June 19, 2018). The order (Doc. No. 19) required the witness
  to appear and submit to a deposition before the Board and to produce documents requested by
  the Board.
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  161(2). In support of this application the Board states as follows:

            1.   The Board is an administrative agency of the United States Government created

  by the Act, and empowered to administer the provisions of the Act, including the issuance of

  subpoenas in furtherance of its investigation of matters within its jurisdiction. Section 11(2) of

  the Act, supra, confers jurisdiction upon the United States district courts, upon application of the

  Board, to order compliance with those subpoenas.

            2.   Respondent is an individual whose last known residence is 4139 Artesa Drive,

  Boynton Beach, Florida 33069, an address within this judicial district. Respondent is president of

  Allied Medical Transport, Inc. (“AMT”), a domestic corporation engaged in the business of

  medical transportation within this judicial district and incorporated under the laws of the United

  States and the State of Florida, with an office at 2710 Blount Road, Pompano Beach, FL 33069,

  an address within this judicial district. (Exhibit A.)2

            3.   This application arises in the course of the Board’s investigation into whether

  AMT is in civil contempt of a judgment entered on December 7, 2015, by the United States

  Court of Appeals for the Eleventh Circuit in NLRB v. Allied Medical Transport, Inc. (No. 14-

  15033). (Exhibit B.) The Eleventh Circuit’s judgment enforced a Decision and Order of the

  Board issued on July 2, 2014 (360 NLRB No. 142) (Exhibit C) requiring AMT, in part, to

  reinstate two unlawfully discharged employees to their former jobs and to make them whole for

  any loss of earnings or benefits suffered as a result of the discrimination against them. Id. at *6

  and *7.

  2
    Although Exhibit A indicates that AMT has dissolved, the Board, as part of its contempt
  investigation (see ¶ 3 below), is looking into the possibility that the company may still be
  operating or operating under a new name to avoid complying with a circuit court judgment
  entered against it.

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         6.      On May 22, 2018, the Board issued Subpoena A-1-11ANUI3 directing

  Respondent to appear on June 19, 2018 for a deposition before the Board at the Broward County

  Judicial Complex, 201 SE 6th Street, Fort Lauderdale, Florida.3 (Exhibit D.) The subpoena was

  delivered by UPS Overnight Delivery to the aforementioned Artesa Drive address on May 23,

  2018. (Exhibit E.)

         7.      At 6:20 p.m. on June 18, 2018, the day before Respondent’s scheduled deposition

  was to occur at 9:00 a.m., the Board was informed for the first time by an attorney, J. Freddy

  Perera, of the law firm Perera Barnhart, that he would “likely” be engaged as counsel by

  Respondent that evening and requested a rescheduling of her deposition (without proposing any

  dates of his own). (Exhibit F, p 1)

         8.       On the morning of June 19, 2018, Respondent appeared for her deposition with

  her counsel, Waynice Green, an attorney with Perera Barnhart. However, attorney Green

  informed counsel for the Board, on the record, that she was advising Respondent “not to answer

  any questions today as far as her deposition is concerned.” (Exhibit G, Transcript at p. 5, lines 4-

  6.) Attorney Green stated that Respondent was not going to go forward with her deposition,

  because Perera Barnhart was just retained last week and had not had time to meet with the

  Respondent client. (Id., Transcript at p. 4, lines 20-25.) Attorney Green also cited the

  hospitalization of Freddy Perera, principal of Perera Barnhart, as the basis of her client’s refusal




  3
    The Board had issued a subpoena duces tecum to Respondent last year, on January 30, 2017,
  requiring Respondent to produce certain AMT records to the Board. The Board chose not to
  enforce that subpoena in district court, because it was informed that Respondent had, around the
  time the subpoena was issued, purportedly left the country and was residing in Kingston,
  Jamaica.

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  to move forward with the deposition (id., Transcript at p. 5, lines 4-20).4 Counsel for the Board

  objected on the record to Respondent’s request for postponement of the deposition on the

  grounds that the agency had already expended resources to send attorneys to Florida, and stated

  that the Board will pursue subpoena enforcement in court. (Id., Transcript at p. 6, lines 8-12).

          9.      In a good faith effort to avoid the expense of having to make another trip to

  Florida to depose Respondent, counsel for the Board contacted Mr. Perera on the morning of

  June 21, 2018, and asked if his client would be available on the morning of June 22, 2018, to be

  deposed. In response, Mr. Perera sent an email stating: “Unfortunately, I was unable to

  accommodate the Board’s request this morning to have Ms. Rashelle Rowe sit for her deposition

  tomorrow. I apologize for any inconvenience the Board may have experienced this week.”

  (Exhibit H.) Mr. Perera provided no further explanation as to why Respondent could not appear

  on Friday and be deposed.

          10.     Although Section 11(1) of the Act, § 29 U.S.C. 161(1), provides that a person

  subpoenaed may seek to have the subpoena revoked by filing a petition to revoke within five

  days of service of the subpoena, and those requirements are summarized on the face of the

  subpoena served on Respondent, no petition to revoke the subpoena at issue here was ever filed.

          11.     As noted previously, Section 11(2) of the Act, specifically authorizes the Board to

  make an "application" to the district court for a summary disposition of the Board’s application

  to enforce the Board’s subpoenas. The Board's application is a dispositive matter, not a pre-trial

  civil discovery matter in district court. "It is significant that the statute calls for an "application"


  4
   It appears that Ms. Green misspoke. In a prior telephone conversation with counsel for the
  Board Green stated that Mr. Perera’s wife, not he, had been hospitalized in connection with the
  birth of a child.

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  rather than a petition, an "order" rather than for a judgment, and that it details no other

  procedural steps." Goodyear Tire & Rubber Co. v. NLRB, 122 F.2d 450, 451 (6th Cir. 1941).

         12.     Respondent's failure and refusal to submit to a deposition before the Board has

  impeded and continues to impede the Board in its investigation of the matters before it and has

  prevented the Board from carrying out its duties and functions under the Act.


         WHEREFORE the applicant, National Labor Relations Board, respectfully prays that this

  Court enter an order forthwith:

         (1)     Granting enforcement of Board Subpoena A-1-11ANUI3 and requiring

  Respondent Rashelle Rowe, within ten (10) calendar days following service of the order upon

  her or her counsel, appear and submit to a deposition before the Board at a time, place, and

  location provided by the Board;

         (2)     Requiring Respondent to reimburse the Board for any costs it will incur in

  sending one of its attorneys to Florida (and back) to take Respondent’s deposition, which shall be

  limited to the cost incurred in the purchase of a round-trip airline ticket, any appearance fee

  charged to the Board by a court reporter retained by the Board, the cost of reserving a conference

  room in which to take Respondent’s deposition, as well any lodging costs not to exceed one

  night; and

         (3)     Granting the applicant, National Labor Relations Board, such other and further

  relief as may be necessary and appropriate.

                                         Respectfully submitted,

                                         NATIONAL LABOR RELATIONS BOARD

                                         s/Aaron D. Samsel
                                         AARON D. SAMSEL
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                                1015 Half St. SE
                                Washington, DC 20003

  Dated:     July 3, 2018
             Washington, D.C.




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                                  CERTIFICATE OF SERVICE


         I hereby certify that copies of the foregoing Application for Order Enforcing Subpoenas

  Duces Tecum, Memorandum in Support, and Proposed Order were filed electronically with the

  Court’s CM/ECF system this 3 day of July, 2018. On this same day, copies of these documents

  were sent to Respondent’s counsel, J. Freddy Perera, by email at freddy@pererabarnhart.com,

  and by UPS Next Day Air to:


                J. Freddy Perera
                12555 Orange Drive
                Second Floor
                Davie, Florida 33330



                                              s/ Aaron Samsel
                                              AARON SAMSEL
                                              Trial Attorney
                                              National Labor Relations Board




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